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1    NORMAN C. SULLIVAN, JR. (State Bar No. 48762)
     nsullivan@frvf-law.com
2    GEORGE J. FOWLER, III (pro hac vice)
     fow@frvf-law.com
3    FOWLER RODRIGUEZ VALDES-FAULI
     400 Poydras Street, 30th Floor
4    New Orleans, Louisiana 70130
     Telephone: (504) 523-2600
5    Facsimile: (504) 523-2705
6    WILLIAM ROBINSON (State Bar No. 087647)
     wrobinson@nixonpeabody.com
7    KELLY L. KRESS (State Bar No. 246368)
     kkress@nixonpeabody.com
8    NIXON PEABODY LLP
     Gas Company Tower
9    555 W. Fifth Street, 46th Floor
     Los Angeles, CA 90013
10   Telephone: (213) 629-6000
     Facsimile: (213) 629-6001
11
     Attorneys for Plaintiffs CRYSTAL
12   CRUISES, INC. and CRYSTAL SHIP
     THREE (BAHAMAS) LTD.
13
                                   UNITED STATES DISTRICT COURT
14
                                 CENTRAL DISTRICT OF CALIFORNIA
15
     CRYSTAL CRUISES, INC. and                                         2:10-cv-08763 PSG (JCx)
                                                                   No. 2:10-cv-08736
16   CRYSTAL SHIP THREE
     (BAHAMAS) LIMITED,                                            DECLARATION OF NORMAN
17                                                                 C. SULLIVAN, JR. IN
                               Plaintiffs,                         SUPPORT OF OMNIBUS
18           v.                                                    OPPOSITION TO
                                                                   DEFENDANTS’ MOTIONS TO
19   MOTEURS LEROY-SOMER S.A.;                                     DISMISS FOR LACK OF
     LEROY-SOMER; EMERSON                                          PERSONAL JURISDICTION
20   ELECTRIC COMPANY; and DOES 1                                  (“EXHIBIT A”); and
     through 20, Inclusive,                                        EXHIBITS B-AA
21
                               Defendants.                         Hearing Date: January 9, 2012,
22                                                                               1:30 p.m.
23

24
             I, NORMAN C. SULLIVAN, JR., declare and state:
25

26           1.       I am a partner with Fowler Rodriguez Valdes-Fauli, counsel of record for
27   Plaintiffs, Crystal Cruises, Inc., and Crystal Ship Three (Bahamas) Limited
28   (hereinafter collectively referred to as “Crystal” or “Plaintiffs”), in the above-entitled
                                                               1
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1    action. Except as otherwise stated, I have personal knowledge of the facts set forth
2    herein and, if called as a witness, I could and would testify competently with respect
3    thereto. I submit this Declaration in support of Crystal’s Omnibus Opposition to
4    Defendants’ Motions to Dismiss for Lack of Personal Jurisdiction.
5            2.       Attached hereto as Exhibit ‘B’ is a true and correct copy of a photograph
6    of one of the generators during construction, which was provided to me by Crystal
7    from its files and produced by Crystal in its authenticated Response to Defendants’
8    Request for Production on September 16, 2011.
9            3.       Attached hereto as Exhibit ‘C’ is a true and correct copy of the completed
10   wire transfer from Crystal to Leroy-Somer dated January 16, 2009, for urgent
11   generator service provided to me by Crystal from its files, and produced by Crystal in
12   its authenticated Response to Defendants’ Request for Production on September 16,
13   2011. Also hereto attached is the Leroy-Somer invoice, order number 546474 for
14   generator service provided to me by Crystal from its files dated November 18, 2008,
15   and produced by Crystal in its authenticated Response to Defendants’ Request for
16   Production on September 16, 2011. Also hereto attached is a true and correct copy of
17   the Crystal purchase order A-3-1235 and the receiving report both issued January 8,
18
     2009, provided to me by Crystal from its files and produced by Crystal in its
19
     authenticated Response to Defendants’ Request for Production on September 16, 2011.
20
             4.       Attached hereto as Exhibit ‘D’ is a true and correct copy of the
21
     correspondence between Xavier Andre and Knut Aune dated January 6, 2009,
22
     regarding Leroy-Somer generator problems, provided to me by Crystal from its files
23
     and produced by Crystal in its authenticated Response to Defendants’ Request for
24
     Production on September 16, 2011. Also attached hereto is a true and correct copy of
25
     the Crystal Serenity Verification of Work Onboard dated February 3, 2009, and the
26
     Leroy-Somer “Compte Rendu D’intervention” dated February 2, 2009, provided to me
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1    by Crystal from its files and produced by Plaintiffs Crystal in its authenticated
2    Response to Defendants’ Request for Production on September 16, 2011.
3            5.       Attached hereto as Exhibit ‘E’ is a true and correct copy of the purchase
4    order dated January 9, 2009, for generator service provided to me by Crystal from its
5    files and produced by Crystal in its authenticated Response to Defendants’ Request for
6    Production on September 16, 2011.
7            6.       Attached hereto as Exhibit ‘F’ is a true and correct copy of the itemized
8    Leroy-Somer Generators 1-6 Partial Discharge expenses provided to me by Crystal
9    from its files and produced by Crystal in its authenticated Response to Defendants’
10   Request for Production on September 16, 2011.
11           7.       Attached hereto as Exhibit ‘G’ is a true and correct copy of the relevant
12   pages of the Transcript of the November 18, 2011 deposition of Joseph Valenti,
13   Crystal’s designated corporate representative.
14           8.       Attached hereto as Exhibit ‘H’ is a true and correct copy of the relevant
15   pages of the transcript of the November 2, 2011 deposition of Gary Sajewich, the
16   individual produced by Emerson as its designated corporate representative.
17           9.       Attached hereto as Exhibit ‘I’ is a true and correct copy of the Affidavit of
18
     Thomas Ottoson, President of Associated Professional Investigators, Inc., and executed
19
     on December 1, 2011.
20
             10.      Attached hereto as Exhibit ‘J’ is a true and correct copy of the Affidavit of
21
     Greg Oranges, and executed on December 7, 2011.
22
             11.      Attached hereto as Exhibit ‘K’ is a true and correct copy of the
23
     Declaration of Randall S. Waier dated December 9, 2011.
24
             12.      Attached hereto as Exhibit ‘L’ is a true and correct copy of the Abstract of
25
     Judgment obtained April 7, 1998 against Caryl Edmund Oranges, reflecting Leroy-
26
     Somer S.A. as the judgment creditor.
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1            13.      Attached hereto as Exhibit ‘M’ is a true and correct copy of the webpage
2    located at http://www.highbeam.com/doc/1G1-8589308.html, which I reviewed and
3    subsequently downloaded during my visit to the aforementioned website on April 28,
4    2011.
5            14.      Attached hereto as Exhibit ‘N’ is a true and correct copy of the webpage
6    located at http://www.leroy-somer.com/pdf/lsnews/LS80UK.pdf, which I reviewed and
7    subsequently downloaded during my visit to the aforementioned website on April 28,
8    2011.
9            15.      Attached hereto as Exhibit ‘O’ are true and correct copies of charts and
10   purchase orders of Leroy-Somer sales in California ranging from the year 2006
11   through March, 2011, and produced by Defendant Leroy-Somer in its authenticated
12   Responses to Plaintiff’s Request for Production on October 14, 2011. (Bates Nos.
13   EM1, EM67-79). Also attached is a summary prepared by my office of the sales prices
14   from documents EM00080-EM00260 produced by defendants representing sales of
15   what are believed to be MLS products to California customers through Emerson Motor
16   Company.
17           16.      Attached hereto as Exhibit ‘P’ is a true and correct copy of a list of Leroy-
18
     Somer customer sales in California ranging from November, 2006 through March,
19
     2011, and produced by Defendant Emerson Electric in its authenticated Response to
20
     Plaintiffs’ Request for Production on October 14, 2011. Bates Nos. EM67 and EM68.
21
     Sales to Hydrotec are of Leroy-Somer products not manufactured by Moteurs Leroy-
22
     Somer.
23
             17.      Attached hereto as Exhibit ‘Q’ are true and correct copies of the invoice
24
     dated June 19, 2009, and issued by Leroy-Somer to Crystal, as well as purchase order
25
     E-3-09-0283 dated June 9, 2009, provided to me by Crystal from its files and produced
26
     by Crystal in its authenticated Response to Defendants’ Request for Production on
27
     September 16, 2011.
28
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1            18.      Attached hereto as Exhibit ‘R’ is a true and correct copy of the
2    correspondence and the Complete Stator offer from Leroy-Somer, both of which are
3    dated February 5, 2009, provided to me by Crystal from its files and produced by
4    Crystal in its authenticated Response to Defendants’ Request for Production on
5    September 16, 2011.
6            19.      Attached hereto as Exhibit ‘S’ is a true and correct copy of the webpage
7    located at www.leroysomerna.com/dreplist.html, which I reviewed and subsequently
8    downloaded during my visit to the aforementioned website on May 12, 2011.
9            20.      Attached hereto as Exhibit ‘T’ is a true and correct copy of the webpage
10   located at www.Applied.com, which I reviewed and subsequently downloaded during
11   my visit to the aforementioned website on October 20, 2011.
12           21.      Attached hereto as Exhibit ‘U’ is a true and correct copy of the webpage
13   located at http://www.usmotors.com/Service-Support/Find-Distributor.aspx, which I
14   reviewed and subsequently downloaded during my visit to the aforementioned website
15   on November 15, 2011.
16           22.      Attached hereto as Exhibit ‘V’ is a true and correct copy of the webpage
17   located at www.leroysomer.com/en/company, which I reviewed and subsequently
18
     downloaded during my visit to the aforementioned website on May 16, 2011.
19
             23.      Attached hereto as Exhibit ‘W’ is a true and correct copy of the
20
     presentation entitled, “Emerson: A Century of Manufacturing [and] Leroy-Somer: A
21
     Century of Experience,” which was provided to NYK/Crystal through CAT, provided
22
     to me by Crystal from its files and was produced by Crystal in its authenticated
23
     Response to Defendants’ Request for Production on September 16, 2011.
24
             24.      Attached hereto as Exhibit ‘X’ is a true and correct copy of the Leroy-
25
     Somer locations which was provided to me by Crystal from its files and produced by
26
     Plaintiffs’ Crystal Cruises in its authenticated Response to Defendants’ Request for
27
     Production on September 16, 2011.
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1            25.      Attached hereto as Exhibit ‘Y’ is a true and correct copy of the Leroy-
2    Somer diagram of its construction process of an alternator which was provided to me
3    by Crystal from its files and produced by Crystal in its authenticated Response to
4    Defendants’ Request for Production on September 16, 2011.
5            26.      Attached hereto as Exhibit ‘Z’ is a true and correct copy of the webpage
6    located at http://www.leroy-somer.com/documentation_pdf/4162a_en.pdf, which I
7    reviewed and subsequently downloaded during my visit to the aforementioned website
8    on November 15, 2011.
9            27.      Attached hereto as Exhibit ‘AA’ is a true and correct copy of the
10   correspondence between Knut Aune and Joe Valenti, and dated March 30, 2009, and
11   which was provided to me by Crystal and produced by Crystal in its authenticated
12   Response to Defendants’ Request for Production on September 16, 2011.
13

14
             I declare under penalty of perjury under the laws of the United States and
15
     California that the foregoing is true and correct, and that this declaration was executed
16
     in New Orleans, Louisiana, on December 12, 2011.
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                                                         Norman C. Sullivan, Jr. (State Bar No. 48762)
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     Declaration in Support of Omnibus Opposition to Defendants’ Motions to Dismiss for Lack of Personal Jurisdiction
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